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                            UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA,                       )
                                                ) Case No. 1:19-CR-00406-DCN
               Plaintiff,                       )
                                                )
                                                ) GOVERNMENT’S MEMORANDUM IN
       v.                                       )
                                                ) SUPPORT OF PRETRIAL DETENTION
COLTON DUNE TURNER,                             )
                                                ) Redacted Pursuant to 18 U.S.C. § 3509(d)(2)
               Defendant.                       )
                                                )
                                                )

       The United States of America, by and through Bart M. Davis, United States Attorney,

and the undersigned Assistant United States Attorney for the District of Idaho, submits this

memorandum in support of its Motion for Detention, filed on December 16, 2019 (ECF 4). This

Court should order the defendant detained, as he represents a danger to the safety of children in

the community.

                                        INTRODUCTION

       Investigators with the Canyon County Prosecuting Attorney’s (CCPA) Office arrested the

defendant on November 13, 2019 in Middleton, Idaho. The State of Idaho charged the defendant




GOVERNMENT’S MEMORANDUM IN SUPPORT OF PRETRIAL DETENTION - 1
with ten counts of possession of child sexually exploitative material in violation of Idaho Code

§ 18-1507(2)(a). The state court ordered the defendant held on a $1,000,000 bond. He remained

in state custody until his appearance in U.S. District Court.

       On December 11, 2019 the Grand Jury returned an Indictment charging the defendant

with one count of Sexual Exploitation of Children in violation of 18 U.S.C. § 2251(a), one count

of Transportation of Child Pornography in violation of 18 U.S.C. § 2252A(a)(1), three counts of

Distribution of Child Pornography in violation of 18 U.S.C. § 2252(a)(2)(A), and two counts of

Possession of Child Pornography in violation of 18 U.S.C. § 2252A(a)(5)(B). (ECF 1). The

state charges were dismissed once the Grand Jury returned its Indictment. The government filed

a motion for detention (ECF 4), the defendant appeared for arraignment on December 17, 2019,

and a detention hearing is scheduled for December 20, 2019.

       The government submits the defendant should remain detained pending trial. Counts

one, two, three, four, and five of the Indictment involve a minor victim under sections specified

in 18 U.S.C. § 3142(e)(3)(E). As such, the Bail Reform Act presumes that there are no

conditions or combination of conditions that will ensure the safety of the community. All seven

offenses charged in the Indictment are considered crimes of violence under the Bail Reform Act.

See 18 U.S.C. § 3156(a)(4)(c).

       The nature and circumstances of the defendant’s offenses, the weight of the evidence

against the defendant, the defendant’s character, and the nature and seriousness of the danger

posed by the defendant’s release all weigh in favor of an order of detention. The facts

underlying the defendant’s charged offenses establish by clear and convincing evidence that no

conditions of release can reasonably assure the safety of the community from the danger the

defendant poses to children.



GOVERNMENT’S MEMORANDUM IN SUPPORT OF PRETRIAL DETENTION - 2
                  FILING UNDER SEAL PURSUANT TO 18 U.S.C. § 3509(d)(3)

        The proffer and argument below contains information about an identified minor victim.

While the victim’s name is not disclosed herein, the facts and circumstances detailed below

contain information concerning the minor victim, which could be used to identify the minor

victim. Pursuant to 18 U.S.C. § 3509(d)(2)(A), the government will file this memorandum under

seal via the District’s Electronic Case Filing (ECF) system. Pursuant to 18 U.S.C.

§ 3509(d)(2)(B), the government will redact the portions of this memorandum that disclose

information concerning the minor victim, and file the redacted version in the public record via

ECF.

                                            PROFFER OF FACT 1

        In July, August, and September of 2019, electronic service provider MeWe 2 submitted

three separate CyberTips 3 to the National Center for Missing and Exploited Children (NCMEC),

reporting that a MeWe user distributed images of child pornography on its online platform.

Subscriber information for the accounts, including usernames, associated e-mail addresses, and

IP addresses used to log into the accounts, reflected that the defendant was the subscriber on the

accounts, and that he had logged into the accounts from his residence in Middleton, Idaho.

NCMEC referred the CyberTips to the Idaho Internet Crimes Against Children (ICAC) Task




1
  The facts proffered herein are established by the investigation of Canyon County Prosecutor’s Office Investigator
Crystal Walker and the Idaho Internet Crimes Against Children Task Force, and evidence presented to the Grand
Jury, which resulted in the Indictment in this case. The investigation of the defendant is on-going.
2
  “MeWe” is a social media website which markets itself as the “alternative to Facebook,” and emphasizes its
commitment to privacy. Like Facebook, it permits users to create a “home feed” where the user can post text and
images, like other user’s posts, create specialized groups to chat and post images, and engage in user to user
communications, including exchanging images and videos. See
https://en.wikipedia.org/wiki/MeWe_(social_media).
3
  18 U.S.C. § 2258A requires electronic service providers to report to NCMEC’s “CyberTipline” any apparent
violation of section 2251, 2251A, 2252, 2252A, 2252B or 2260 that involves child pornography.



GOVERNMENT’S MEMORANDUM IN SUPPORT OF PRETRIAL DETENTION - 3
Force. The ICAC assigned them to CCPA Investigator Crystal Walker, an ICAC Task Force

affiliate officer, for investigation.

         A Canyon County Magistrate Judge signed search warrants for the contents of the MeWe

accounts, for the defendant’s residence in Middleton, Idaho, and for the defendant’s cellular

phone. In late October and early November, 2019, Investigator Walker received the contents of

the three MeWe accounts pursuant to the search warrants. On November 13, 2019, officers with

the ICAC served the search warrant at the defendant’s residence in Middleton, Idaho, and CCPA

investigators seized the defendant’s phone from his pocket at Middleton High School. An ICAC

computer forensic examiner conducted a forensic examination of the defendant’s cellular phone

and immediately observed images of child pornography. Officers placed the defendant under

arrest on state criminal charges. The contents of the defendant’s cellular phone and his MeWe

account activity form the basis for the seven counts listed in the Indictment.

         I.     Counts One (Sexual Exploitation of Children) and Two (Transportation of Child

Pornography)

         The defendant’s cellular phone, an Apple iPhone 8, contained four images taken with the

phone on July 28, 2019. The phone took the images as “live photos,” which are videos recorded

for 1.5 seconds before, and 1.5 after the photo is taken, and can be edited to depict any point

within the 3 seconds captured. See https://support.apple.com/en-us/HT207310. Three of the live

photos depict a lascivious display of the naked buttocks, legs, and genitals of a minor. During

the course of one of the three second live photos, a hand grabs the buttocks of the minor and

spreads them, revealing a close-up lascivious display of the minor’s genitals. In at least one of

the photos, a textile pattern consistent with a couch cushion or pillow can be seen underneath the

minor.



GOVERNMENT’S MEMORANDUM IN SUPPORT OF PRETRIAL DETENTION - 4
        The “exchangeable image file format” (EXIF) data 4 associated with the three sexually

explicit live photos established that the photos were taken with the Apple iPhone 8 on July 28,

2019 at 7:06, 7:56, and 8:02 UTC (12:06 a.m., 12:56 a.m., and 1:02 a.m. Pacific Standard

Time). 5 The EXIF data also contained GPS coordinates showing the images were taken at the

WorldMark Depoe Bay condos in Depoe Bay, Oregon. A fourth image, taken on July 28, 2019,

at 15:41 UTC (8:41 a.m. Pacific Standard Time), depicts the face and body of a clothed minor,

approximately 8 years of age, sitting on a couch with a pattern identical to the one depicted in the

sexually explicit images. This photo was also taken by the Apple iPhone 8 at the WorldMark

Depoe Bay condos in Depoe Bay, Oregon.

        Investigator Walker compared the three sexually explicit images from the defendant’s

iPhone with images contained within one of the MeWe accounts. The MeWe data showed that,

on August 11, 2019, the defendant posted two of the sexually images to a MeWe group chat

along with the post “This is my niece I fingered her and ate her out to scarf [sic] to shove my

c**k in.” Later that same day, the defendant posted “I play with a little 8 year old names

[MV1] 6 she my niece and she’s tight and ready for c**k,” and “I have an 8 year old slut of s

nieces.” On August 13, 2019, the defendant posted in the group chat “I’ve only ate out my niece

when she was asleep wanted to rape her little body.” On August 18, 2019, the defendant posted

“OK sorry I just really want a girl who will cum to kids with me I have an 8 year old niece who

could really use a woman’s touch.”
4
  EXIF data is a format for images used by digital cameras which commonly captures the date, time, and camera
settings when an image is taken. For digital cameras that have a GPS receiver, such as those found in cellular
phones, the EXIF data will also commonly include the GPS location data from the location where the image was
taken. See https://en.wikipedia.org/wiki/Exif.
5
  UTC is the “coordinated universal time” and is the primary standard by which the world regulates clocks and
times, and is not adjusted for daylight savings time. It is also known as “Greenwich Mean Time.” See
https://en.wikipedia.org/wiki/Coordinated_Universal_Time. On July 8, 2019, UTC was seven hours ahead of
Pacific Standard Time.
6
  The defendant posted MV1’s real first name in the chat, along with the sexually explicit images of MV1.



GOVERNMENT’S MEMORANDUM IN SUPPORT OF PRETRIAL DETENTION - 5
       Investigator Walker spoke with the defendant’s mother. She told Investigator Walker

that she and the defendant took a vacation with a group of family and friends in Depoe Bay,

Oregon in July of 2018, and that the group stayed at the WorldMark condos. Included in the

group was MV1, a minor approximately 7 or 8 years old, whose name and description matched

that depicted in the images and the defendant’s posts. She gave Investigator Walker the contact

information for a family member of MV1.

       Investigator Walker spoke to the family member of MV1, who confirmed that MV1, who

was 8 years old, was on vacation in Oregon with the defendant, that MV1 and the defendant

stayed in the same condo, and that MV1 may have slept on the couch in the living room of the

condo. The family member explained that the defendant often referred to MV1 as “his niece,”

and that MV1 was “close” to the defendant and followed him around.

       A child forensic interviewer later spoke with MV1. MV1 did not disclose any physical

touching by the defendant. MV1 did, however, disclose that MV1 slept in the living room of the

condo during the family vacation at the ocean, and that the defendant slept in the living room that

night as well. MV1 disclosed that, the next day, the defendant slept much of the day, stating that

he had been awake most of the night and he reported having a sore neck.

       II.     Counts three through five (Distribution of Child Pornography) and six (Possession

of Child Pornography)

       The defendant’s MeWe accounts contained approximately 200 images of child

pornography. The images depict infants and toddlers being sexually abused, raped, and tortured.

The government will not proffer detailed descriptions of the images to the Court, but will rather

represent that the images are the most deviant and disturbing images ever encountered.




GOVERNMENT’S MEMORANDUM IN SUPPORT OF PRETRIAL DETENTION - 6
           The MeWe subscriber account information showed the defendant was using the accounts

from an IP address assigned to his parents’ residence in Middleton, and one account included a

photo of the defendant. MeWe shut down the three accounts used by the defendant due to the

defendant’s repeated distribution of images of child pornography. The first account was open for

only two days (July 17 to 19) before being shut down. The second account was open for 10 days

(August 9 to 19), and the third account was open for five days (September 5 to 10).

           Despite the limited timeframe that the accounts were active (approximately 17 days

total), the defendant used the accounts to distribute images of child pornography on

approximately 178 occasions. These distributions consisted of posting images of child

pornography on his home feed (including as his profile image), posting them in group chats, and

sending them directly to other users. The defendant’s statements in chat groups, and with other

users, repeatedly indicated his desire to trade images of child pornography. On multiple

occasions, the defendant complained about getting “kicked out” of MeWe, and indicated that he

had videos to share but would get his account shut down if he sent them. He posted his

username for at least three other online platforms where he believed he could trade videos of

child pornography without having his account shut down. 7 The defendant also posted several

links to “Mega” cloud storage folders within group chats, one of which has been confirmed to

contain images of child pornography.

           The defendant’s MeWe accounts appeared to have been used solely for distributing and

exchanging child pornography. The profile text for the defendant’s three home pages are as

follows:




7
    The defendant’s activity on other online platforms is still under investigation.



GOVERNMENT’S MEMORANDUM IN SUPPORT OF PRETRIAL DETENTION - 7
    •   Last account got deleted but if you looking for those “hard to find pics” HMU 8 I got you
    •   If your looking for those “hard to find” pics and vids HMU
    •   HMU for those “hard to find” pics and vids. I share any group I’m added to. ******:
        B******7 9

    The defendant’s posts to other MeWe users repeatedly referenced his desire to trade for

images of very young children. The posts included statements seeking images of “littles,”

“really young,” “kids,” “hardcore,” and “[i]s there such a thing as to young on here???” He

indicated his age preference in images as “0-9,” “I like 4-5,” and “0-8 but I always love the

younger.” He also indicated a preference for images of “babies,” stating “. . . I love girls who get

wet by baby f***ing,” and “I have a lot of baby f***ing if you have vids to trade.” The

defendant’s stated preference for images of child pornography depicting infants is corroborated

by the nature of the images stored in, and posted by, his MeWe accounts.

    The defendant also posted frequently about his desire to kidnap, exploit, rape, and harm very

young children in the following posts:

        •    “Want to gang rape a little girl?”
        •    “Damn man just give that little one some NyQuil and she won’t remember a thing.
             You can be safer by just f***ing her in the a** and c** all over the littleslut.”
        •    “Anyone down to meet up with a little girl”
        •    “I just want to f*** a little so much”
        •    “Who cares just shove it in a hear them cry”
        •    “No meant go get a kid and take pictures of her.”
        •    “Idaho and damn you could steal a girl off the street any time. . . I have links . . . Bro
             they would catch you if you have no motive or priors and are smart about it go to the
             far side of town and find one all along and if you rape her to death you can get a new



8
 “HMU” is an online acronym for “hit me up.”
9
 This profile text (redacted) referenced the defendant’s username on another online platform he commonly directed
others to contact him on for trading images and videos of child pornography.



GOVERNMENT’S MEMORANDUM IN SUPPORT OF PRETRIAL DETENTION - 8
              one. . . I got more if it will make you get one . . . We should do it make one and share
              all those hot pics.”
       •      “Go kidnap her.”
       •      “Come rape a girl with me then.”
       •      “On your drive up here find on kid nap here and bring her to me”
       •      “I’m in Idaho . . . Ik but that’s good just make sure not to use your cards to pay for
              anything until your up here they’ll never suspect some random person from 3states
              away . . . No but it will work just grab one defenseless like that and tell her her
              parents wanted you to take her somewhere . . . Take her here I get you a motel room.
              We do whatever we want to her for as long as we want and if she’s still ok by the end
              when you head back you drop her two towns away from where you found her and go
              home.”
       •      “Don’t you just want to rape one to death”
       •      “You have any hardcore rape stuff pics or links”

       When ICAC agents searched the defendant’s bedroom pursuant to the search warrant,

they discovered a black bag underneath his bed. Inside the bag was one thick black rope, one

thin black paracord rope, a roll of black tape, handcuffs, a pink bandanna, one container of

personal lubricant, and one container of “female sexual stimulating gel.”

       III.       Count Seven (Possession of Child Pornography)

       A review of the contents of the defendant’s iPhone 8 is still ongoing. The forensic

examination revealed approximately 23,000 images on the phone, most of which appear to depict

images of child pornography, including the three images taken of MV1 in Depoe Bay, Oregon.

Many of the images of child pornography that were stored and distributed in the MeWe accounts

are also present on the defendant’s iPhone. The iPhone also contained several images depicting

what appears to be deceased infants, and images of minors being tied up with objects covering

their mouths.


GOVERNMENT’S MEMORANDUM IN SUPPORT OF PRETRIAL DETENTION - 9
       The applications on the phone included MeWe, the Mega cloud storage application, and a

private messaging application that the defendant referenced using to trade images of child

pornography in the MeWe chats. The Safari web browser history showed the following website

descriptions visited in November of 2019: XRares – Snuff porn videos, pain porn videos,

Colombian Camwhore Fucked To Tears, hardcore rape porn videos, Chaturbate, Mypovcams,

and Myporngeek.

       One image saved on the phone depicts a screenshot of a post the defendant made from

one of his MeWe accounts. It states:

       GOD! I really wanna rape a baby rn! I need to hear it screaming as I shove my
       c**k up its tight virgin p***y. I NEED to feel the squelching of its insides as I
       f**k it’s baby uterus to a pulp. I wanna make out with its pedo mother as she puts
       the girls head between her legs and squashes it like a watermelon. (Not a caption
       100% serious rn)
                                          ARGUMENT

       The Bail Reform Act provides that a judicial officer shall detain a defendant pending trial

where “no conditions or combination of conditions will reasonably assure the appearance of the

person as required and the safety of any other person and the community.” 18 U.S.C. § 3142(e).

Detention is appropriate where a defendant poses either a danger to the community or a risk of

non-appearance and it is not necessary to prove both. See United States v. Motamedi, 767 F.2d

1403, 1406 (9th Cir. 1985). The Government must establish by clear and convincing evidence

that the defendant presents a danger to the community and by a preponderance of the evidence

that the defendant is a risk of non-appearance. Id.

       In determining whether pretrial detention is appropriate, Section 3142(g) provides four

factors for the Court to consider: (1) the nature and circumstances of the offense charged,



GOVERNMENT’S MEMORANDUM IN SUPPORT OF PRETRIAL DETENTION - 10
including whether the offense charged is a crime of violence; (2) the weight of the evidence

against the defendant; (3) the history and characteristics of the defendant; and (4) the nature and

seriousness of the danger posed by the defendant’s release. See United States v. Townsend, 897

F.2d 989, 994 (9th Cir. 1990); 18 U.S.C. § 3142(g).

       Where, as here, there is probable cause to believe that the defendant has committed an

offense involving a minor victim under Title 18, United States Code, Sections 2251 and 2252A,

the court shall presume, subject to rebuttal, that no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of the community. See

18 U.S.C. § 3142(e)(3)(E). However, even if rebutted, the presumption “remains in the case as

an evidentiary finding militating against release, to be weighed along with other evidence

relevant to factors listed in § 3142(g).” See United States v. Hir, 517 F.3d 1081, 1086 (9th Cir.

2008) quoting United States v. Dominguez, 783 F.2d 702, 707 (7th Cir.1986).

       At the detention hearing, the Court may properly rely upon a proffer by counsel in

determining a defendant’s danger to the community or risk of flight. See United States v.

Winsor, 785 F.2d 755, 756 (9th Cir. 1986) (“[T]he government may proceed in a detention

hearing by proffer or hearsay.”). The Government may proceed in a detention hearing by proffer

or hearsay, as a defendant has no right to cross-examine adverse witnesses who have not been

called to testify. See United States v. Winsor, 785 F.2d 756 (9th Cir. 1986). A magistrate may

“rely upon investigatory descriptions of evidence (and similar hearsay) where the judicial officer

reasonably concludes that those descriptions, reports, and similar evidence, in the particular

circumstances of the hearing, are reliable.” See United States v. Acevedo-Ramos, 755 F.2d 203,

207 (9th Cir. 1985). “Bail hearings are typically informal affairs, not substitutes for trial or even




GOVERNMENT’S MEMORANDUM IN SUPPORT OF PRETRIAL DETENTION - 11
for discovery. Often the opposing parties simply describe to the judicial officer the nature of

their evidence; they do not actually produce it.” Id. at 206.

       Further, the Magistrate or judge possesses adequate power to reconcile the
       competing demands of speed and of reliability, by selectively insisting upon the
       production of the underlying evidence or evidentiary sources where their accuracy
       is in question. Through sensible exercise of this power of selection, the judicial
       officer can make meaningful defendant's right to cross-examine without
       unnecessarily transforming the bail hearing into a full-fledged trial or defendant's
       discovery expedition.

Id. at 207-208.

       I.         The Nature and Circumstances of the Offenses Charged.

       The defendant possessed images of infants and toddlers being sexually abused, raped, and

tortured. He distributed those vile images to others on approximately 178 occasions. He

repeatedly posted about his desire and intent to kidnap, rape, and harm a child, and tried to

convince other online users to assist him in doing so. And it wasn’t simply idle talk or fantasy –

the defendant acted on his desires. He sexually abused an 8 year old that he considered his niece,

while the victim was sleeping, and took three short videos of the abuse over the course of an

hour. He then posted images of the abuse, along with a description of the sex acts he committed,

and posted the victim’s name and relationship to him – potentially allowing the victim to be

identified. Finally, the defendant prepared a bag containing items that could be used to kidnap

and rape someone – ropes, handcuffs, duct tape, a bandanna, and sexual lubricant.

       The seriousness of the offense cannot be overstated. In the past five years, every “hands-

on” producer of child pornography charged in this District has been detained pending trial. And

for good reason. This Court cannot fashion an order that would eliminate the risk presented by

releasing an individual who would sexually abuse a child, document that abuse by creating

images of it, and then distribute it to others while identifying the victim online. This defendant’s



GOVERNMENT’S MEMORANDUM IN SUPPORT OF PRETRIAL DETENTION - 12
enthusiasm for, and desire to, rape and physically harm a child, presents an even greater risk to

children in the community than the average producer of child pornography.

           In addition to his statements, the images possessed and distributed by the defendant are

also indicative of his sexual proclivities. “An offender's pornography and erotica collection is

the single best indicator of what he wants to do.” Kenneth V. Lanning, Office of Juvenile Justice

and Delinquency Prevention, Child Molester: A Behavioral Analysis – for professionals

investigating the sexual exploitation of children, 107 (5TH ED. 2010). 10 The deviant nature of the

images reflects the potential danger that the Defendant poses to children.

           Finally, the serious nature of the offenses is reflected in the penalties Congress specified

for the defendant’s conduct. Count one carries a mandatory minimum sentence of 15 years, and

the total maximum sentence that could be imposed for the seven counts is 150 years. Even

without any criminal history, the defendant’s guideline range is likely to be 292 to 365 months.

“Hands-on” producers of child pornography in this District have historically received significant

sentences of imprisonment. See, e.g., United States v Wilkinson, 1:14-cr-00168-BLW (130 year

sentence after conviction at trial); United States v. Goodwin, 4:17-cr-00296-DCN (100 year

sentence after conviction at trial); United States v. Morales, 1:16-cr-00229-BLW (25 year

sentence after guilty plea); United States v. Harris, 4:18-cr-00103-BLW (25 year sentence after

guilty plea).

           The nature and seriousness of the offense gives rise to the rebuttable presumption that

detention is appropriate. The Government submits that this factor should carry the most weight

in the Court’s determination of whether the defendant poses a risk of danger to the community.



10
     http://www.missingkids.com/en_US/publications/NC70.pdf



GOVERNMENT’S MEMORANDUM IN SUPPORT OF PRETRIAL DETENTION - 13
The facts supporting the offenses charged establish that the defendant poses a danger to the

community, and to children specifically. The defendant cannot present evidence to rebut the

presumption created by the nature of his offenses. On this basis alone, the defendant should be

detained pending trial.

       II.     The Weight of the Evidence Against the Defendant.

       As detailed above, substantial evidence establishes the Defendant's guilt. The images he

produced of MV1, charged in counts one and two, were taken with the defendant’s phone, at a

time and location where he was staying with the victim, and were found on his phone, in his

possession. The defendant posted those images online, with the victim’s name, the victim’s

relationship to him, and a description of the sex acts he performed on the victim. The subscriber

information for the MeWe accounts show that the defendant was using them, that he signed up

with e-mail addresses assigned to him, and that he logged into the accounts using an IP address

assigned to his residence. Further, the images of child pornography possessed and distributed in

the MeWe accounts were found on his phone, and a picture of the defendant was saved in one of

the accounts. The weight of the evidence supports an order of detention.

       III.    The Defendant’s History and Characteristics.

       The Bail Reform Act directs the Court to consider “the person’s character.” 18 U.S.C.

§ 3142(g)(3)(A). John Wooden once stated “[t]he true test of a man’s character is what he does

when no one is watching.” The defendant’s character is reflected by his actions when no one

was watching –in the condo in Oregon, online in posts and communications in MeWe, and on his

phone. This reflection of character weighs heavily in favor of detention in this case.

       The government has no reason to dispute that the defendant comes from a good family,

that he has the support of friends, and that he performed well in school. Undoubtedly, his



GOVERNMENT’S MEMORANDUM IN SUPPORT OF PRETRIAL DETENTION - 14
parents, friends, and schoolmates knew nothing of the activity that led to the Indictment in this

case. Likewise, the pretrial services officer – who is prohibited from considering the nature and

seriousness of the offense in her report and recommendation – has no knowledge of the facts of

this case. Deprived of this knowledge, their requests and recommendations should carry little

weight.

          The aspect of the defendant's character that should concern this Court is his stated desire

to sexually abuse, exploit, rape, and harm children. This characteristic led to the defendant's

abuse and sexual exploitation of MV1, an eight year old child he considered his niece. The

defendant also victimized many more children through the possession and distribution of images

depicting those children being raped and abused. The defendant's clear sexual interest in

children led him to amass thousands of images of the worst type of child pornography

imaginable. He further contributed to the market for child pornography by distributing and

trading these images with other pedophiles. The defendant's characteristics reveal a significant

threat of danger to children in the community, supporting an order of detention.

          IV.    The Nature and Seriousness of the Danger Posed by the Defendant's Release.

          The nature of the danger to children that would be posed by the defendant’s release is

actual physical harm to a child. This risk of danger to children cannot be prevented by an order

of this Court. The only way to completely eliminate the risk of danger that the defendant poses

is by detaining him pending trial. The defendant has already physically sexually abused and

exploited one child. He repeatedly discussed his desire to kidnap, rape, and harm children. He

prepared a bag of tools to be used to accomplish this desire. Anything less than completely

eliminating the danger of actual harm to another child should not be considered by the Court.




GOVERNMENT’S MEMORANDUM IN SUPPORT OF PRETRIAL DETENTION - 15
       Neither pretrial services, nor the defendant’s parents, can eliminate the risk of danger

posed by the defendant. The proposed release plan – placement at his parents’ residence – puts

the defendant back into the very environment in which he committed these crimes. The

government is not suggesting that the defendant’s parents are in any way at fault for, or that they

had any reason to suspect, the defendant’s actions in this case. But, supervision by his parents,

or by pretrial services, cannot ensure that the defendant will not act on his desire to harm a child.

Even assuming an order of home detention is entered, neither the order nor the location

monitoring would physically prevent the defendant from leaving the residence to act upon his

desires. In that event, a child could be harmed before he was caught violating the order. This

risk is too great, and the consequences too severe, for the Court to consider.

       Child sex offenders are much more likely to reoffend than other offenders. The

defendant's risk of recidivism is underscored by the findings of Congress, the courts, and

researchers:

       Congress has repeatedly reiterated that recidivism rates are particularly high for
       child sex offenders. See Blaisdell, Krista, Note, Protecting the Playgrounds of the
       Twenty-First Century: Analyzing Computer and Internet Restrictions for Internet
       Sex Offenders, 43 Val. U. L. Rev. 1155, 1192, n. 150 (2009) (compiling
       Congressional statements regarding the high risk of recidivism among child sex
       offenders). Similarly, the Eleventh Circuit has noted that "child sex offenders
       have appalling rates of recidivism and their crimes are under-reported." United
       States v. Pugh, 515 F.3d 1179, 1201 (11th Cir. 2008). In addition, one study of
       sex offenders found an overall recidivism rate of 31.7%. Kingston, Drew, et al.,
       Pornography Use and Sexual Aggression: The Impact of Frequency and Type of
       Pornography Use on Recidivism Among Sexual Offenders, Aggressive Behavior,
       Volume 34 (2008)[]. The predicted odds of recidivism increased by 177% among
       the offenders that viewed deviant pornography, such as child pornography.
       Moreover, the predicted odds of violent recidivism, including sexually violent
       recidivism, increased by 185% for this group. The predicted odds of any type of
       sexual recidivism increased by 233% for the group that admitted to viewing
       deviant pornography. This increased risk of recidivism among sexually deviant
       offenders has also been found in earlier studies, including a meta-study from




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       1996. See Hanson, R. Karl, and Monique Bussiere, Predictors of Sexual
       Recidivism: A Meta-Analysis[].

United States v. Cunningham, 680 F.Supp.2d 844, 855 (N.D. Ohio, 2010) (Internet citations

omitted).

       Finally, the nature and seriousness of the danger posed is not limited to children the

defendant could potentially physically harm in person. It extends to children whose abuse is

depicted in images of child pornography. The possession and distribution of those images re-

victimizes the children. The defendant's actions show a willingness to re-victimize these

children for his own sexual gratification.

       While this Court could order that the defendant have no access to the internet, and the

U.S. Probation Office could attempt to enforce that condition, the reality is that the pretrial

services officer cannot ensure that the defendant will not target another child, either in person or

online. The ubiquity of the internet, the ease with which the internet can be accessed by

numerous electronic devices, and the inherent inability of pretrial services to be looking over the

defendant’s shoulder at all times, renders enforcement of such a condition an impossibility.

       Put simply, the defendant should not be allowed the opportunity to target another child

for sexual abuse, exploitation, or harm. No combination of conditions of release will eliminate

the risk of danger to children in the community. The nature and seriousness of the danger posed

by his release is too significant to merit consideration. As such, he should be detained.

                                          CONCLUSION

       For the reasons stated herein, the defendant is a danger to the community, and no

condition or combination of conditions will reasonably assure the safety of the community.




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Accordingly, the government respectfully requests that the Court order the defendant detained

pending trial.

       Dated this 31st day of December, 2019.



                                                 BART M. DAVIS
                                                 UNITED STATES ATTORNEY
                                                 By:


                                                 /s/ Justin D. Whatcott
                                                 JUSTIN D. WHATCOTT
                                                 Assistant United States Attorney


                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 31, 2019, the foregoing GOVERNMENT’S

MEMORANDUM IN SUPPORT OF PRETRIAL DETENTION was electronically filed

with the Clerk of the Court using the CM/ECF system, and that a copy was served on the

following parties or counsel by:

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                                                           /s/ Mackenzie McKague-Dunlap
                                                           Legal Assistant




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